                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                       No. 5:06-CR-52-1-F

 UNITED STATES OF AMERICA,                        )
                                                  )
                v.                                )           REASSIGNMENT ORDER
                                                  )
 MICHAEL HERSEY JACOBS                            )




       At the direction of the Court, and for the continued efficient administration of justice, this

case is reassigned to the Honorable Terrence W. Boyle, Chief United States District Judge, for all

further proceedings. All future documents should reflect the revised case number of 5:06-CR-

52-1BO.



       SO ORDERED. This the 25th day of September, 2020.


                                                             /s/ Peter A. Moore, Jr.
                                                             Clerk of Court




          Case 5:06-cr-00052-BO Document 48 Filed 09/25/20 Page 1 of 1
